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                              UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF CALIFORNIA


  FOOD & WATER WATCH, INC., et al.,                Case No.17-cv-02162-EMC
                Plaintiffs,

          v.

  UNITED STATES ENVIRONMENTAL
  PROTECTION AGENCY, et al.,
                Defendants.


                      NOTICE REGARDING VIDEO RECORDING

       A request has been made to video record the January 10, 2023, Status Conference in this

case pursuant to General Order 65, Cameras in the Courtroom Pilot Project.



(X)    All parties have consented to the video recording of the proceeding; unless otherwise

       ordered by the presiding judge, the proceeding will be video recorded as part of the Pilot

       Project. See cand.uscourts.gov/cameras for more information.



( )    At least one party has opposed the request to video record and/or the Court has denied the

       request; the proceeding will not be video recorded.



Dated: 11/21/2022                                   Mark B. Busby, Clerk of Court



                                                    Signature of Clerk or Deputy Clerk
